                   Case 25-10308              Doc 436-3           Filed 05/09/25            Page 1 of 1



    Diamond Comics Distributors, Inc                                                               Case No. 25-10308
    Balance Sheet                                                                                             Feb-25

                                                                                                Consolidated
                                                                                               Diamond Comic
                                                                                               Distributors, Inc
    Assets
    Current Assets
     Cash and cash equivalents                                                                                 434,788
     Accounts Receivable, net                                                                               27,383,346
     Inventory                                                                                              22,291,805
     Other Receivables                                                                                       8,095,636
     Prepaids & Deposits                                                                                    25,938,327
     Note Receivable                                                                                           475,239
    Total Current Assets                                                                                    84,619,141

   Non-Current Assets
    Fixed Assets                                                                                             2,754,664
    Security Deposits                                                                                           99,832
[2] Investment in Subsidiary                                                                                10,019,040
    Intangibles Assets, net                                                                                  5,888,615
   Total Non-Current Assets                                                                                 18,762,150
   Total Assets                                                                                            103,381,291

   Liabilities
   Liabilities Not Subject to Compromise
    Accounts Payable                                                                                         9,232,528
[1] DIP Financing (Postpetition)                                                                            40,848,045
   Total Liabilities Not Subject to Compromise                                                              50,080,573

    Liabilities Subject to Compromise
     Prepetition Secured Debt                                                                                              -
     Prepetition Priority Debt                                                                                 604,284
     Prepetition Unsecured Debt                                                                             50,273,689
    Total Liabilities Subject to Compromise                                                                 50,877,973
    Total Liabilities                                                                                      100,958,546
    Total Equity                                                                                             2,422,745

[1] Pursuant DIP financing order, the Company’s prepetition revolving credit facility is being repaid on a dollar-for-dollar
    basis through the use of cash collateral, while a corresponding amount is drawn under the DIP facility. The
    prepetition revolving credit facility was fully paid down as of 2/28/25
[2] Represents the Company’s controlling equity interests in Comic Exporters, Inc. and Comic Holdings, Inc., which
    together own 100% of Diamond UK. The Company holds 100% of both U.S. entities.
